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EXHIBIT 3
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KEITH BROWN
July 03, 2023

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

JUSTIN GUY, individually and
on behalf of those similarly
situated,
Plaintiff,
vs. Case No. 20-cv-12734-MAG-EAS
Hon. Mark A. Goldsmith

ABSOPURE WATER COMPANY, LLC,
a domestic limited liability
company,

Defendant.

The Remote Deposition of KEITH BROWN,
Commencing at 10:04 a.m.,

Monday, July 3, 2023,

Before Helen F. Benhart, CSR-2614,

Appearing remotely from Wayne County, Michigan.

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REMOTE APPEARANCES :

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KEITH BROWN
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We have a fuel tank in the back area where the trucks
are. Where the trucks sit is a big fuel tanker out
there that we pull up and fuel up if we need gas.
Again, when did you typically £i11 your truck?

It would be in the morning when we first get our
trucks.

Did you do that for every time you drove?

No. I would do it every maybe like two to three days
because, like I said, I was kind of locally and I was
sitting around at a lot of buildings for my day. I
wasn't just driving nonstop so I didn't have to fuel
up every day.

Okay. How were -- during this time frame, late 2017
to the time you ended, how were you paid? How was
your pay calculated by Absopure?

We were commission so it goes off -- it guess it goes
off how much water we sell throughout the day, how
much product we sell.

I'm going to put up another document for you. Just
give me a minute. Okay. Can you see a document in
front of you?

Yes.

Do you -- and I will put for the record, if you give
me a minute, the document that has been produced in

this case is -- bears Bates numbers 4401 through 4429,

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KEITH BROWN
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breakdown. I never did. I never really like paid
attention to that stuff. I just -- the only thing I
did was write down what they told me how much I made
that day.
What is your understanding of how you -- you said you
were paid commission. How that commission was
calculated, what's your understanding of that?
I know we got a certain percentage of whatever we
deliver so everybody paid a different amount for the
water and we got a certain amount of a percentage of
what we sold, whatever we delivered to that stop. So
if a stop took eight bottles, we would get -- you
know, if the total was $64 for the eight bottles, we
got a percentage off those 64 bottles I guess.
The percentage was off the amount of the sale, is that
correct?

MR. FRISCH: Objection. He said it was
based on the amount that he delivered.

THE WITNESS: Yeah, for delivery. I wasn't

a salesperson. We just delivered water.

BY MR. CUMMINGS:

Q.

For the delivery then, that would be the value of the
products delivered, is that correct?
Yes. I'm saying sales but I'm meaning delivery. We

just delivered water. We didn't have any like sales.

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